                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
       v.                                       )          No. 09-00121-01-CR-W-DGK
                                                )
GILBERTO LARA-RUIZ,                             )
                                                )
       Defendant.                               )

                                            ORDER

       Pending before the Court are Defendant’s Motion to Dismiss Indictment (Doc. 154), the

Government’s response (Doc. 156), Defendant’s suggestions in support (Doc. 157) and United

States Magistrate Judge John T. Maughmer’s Report and Recommendation (Doc. 222). The

Court has also reviewed the transcript from the hearing (Doc. 179).

       After carefully reviewing the Magistrate’s report and conducting an independent review

of the record and applicable law, the Court hereby ORDERS that Magistrate Judge Maughmer’s

Report and Recommendation be ADOPTED. Defendant’s Motion to Dismiss Indictment (Doc.

154) is hereby granted in part and denied in part. Counts One, Three, Four, Five, Six, Seven,

Eight, Nine, Ten, Eleven, Twelve and Thirteen are dismissed. The motion is denied as to Counts

Fourteen and Fifteen.

       IT IS SO ORDERED

Date: February 7, 2011                            /s/ Greg Kays
                                                GREG KAYS, JUDGE
                                                UNITED STATES DISTRICT COURT




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